                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:10-00065
                                                )           JUDGE CAMPBELL
QUINCY MAURICE FUQUA                            )

                                            ORDER

       Pending before the Court is the Defendant’s Motion To Continue Sentencing Hearing

(Docket No. 339). Through the Motion, the Defendant seeks a continuance of the sentencing

hearing, currently set for November 26, 2013. The Government has filed a Response (Docket

No. 344) indicating that it does not oppose a short continuance.

       The Motion is GRANTED. Accordingly, the sentencing hearing is CONTINUED to

January 14, 2014, at 1:00 p.m.

       It is so ORDERED.



                                                    _________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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